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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:09CR32
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
CANDACE PARTEE,                                   )
                                                  )
                     Defendant.                   )
       This matter is before the court on the motion to continue by defendant Candace
Partee (Partee) (Filing No. 87). Partee seeks a continuance of the trial of this matter which
is scheduled for July 6, 2009. Partee has submitted an affidavit wherein she represents
that she consents to the motion and acknowledges she understands the additional time
may be excludable time for the purposes of the Speedy Trial Act. Partee’s counsel
represents that government’s counsel has no objection to the motion. Upon consideration,
the motion will be granted.


       IT IS ORDERED:
       1.     Partee's motion to continue trial (Filing No. 87) is granted.
       2.     Trial of this matter is re-scheduled for August 10, 2009, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between June
29, 2009 and August 10, 2009, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason that defendants' counsel
require additional time to adequately prepare the case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 29th day of June, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
